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                      UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF PUERTO RICO

   IAN ROSARIO-MONTANEZ,
   Petitioner,
                                                              CRIM. NO. 96-001 (PG)
   v.

   UNITED STATES OF AMERICA,
   Respondent.


                  MOTION REQUESTING AN EXTENSION OF TIME TO
                   FILE RESPONSE PURSUANT TO LOCAL RULE 6

TO THE HONORABLE COURT:

        The United States of America requests an extension of 15 days to file its response to DE

645 until September 2, 2020. In support thereof, the United States provides:

   1. On August 4, 2020 Ian Rosario-Montanez moved for Reduction of Sentence – First Step

        Act (DE 645). The United States response is due August 18, 2020.

   2. The undersigned has been actively completing and filing substantive responses in various

        matters pending before this Court with earlier deadlines. Considering the recent increased

        number of motions under 18 U.S.C. § 3582 and § 3583, the undersigned requests an

        extension of fifteen days to respond to defendant’s motion. No prior extensions have been

        requested.

        WHEREFORE, the United States respectfully requests that this Honorable Court grant

until September 2, 2020, to file its response in this case.
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       RESPECTFULLY SUBMITTED,

       In San Juan, Puerto Rico, this August 17, 2020.

                                                   W. Stephen Muldrow
                                                   U.S. Attorney

                                                   /s/ B. Kathryn Debrason
                                                   Assistant United States Attorney
                                                   United States Attorney’s Office
                                                   Torre Chardón, Ste. 1201
                                                   350 Carlos Chardón Ave
                                                   Hato Rey, PR 00918
                                                   Tel. (787) 766-5656
                                                   Fax (787) 771-4050



                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 17, 2020, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF, which will send notification of such filing to counsels

of record. I have also mailed by United States Postal Service the document to the following non-

CM/ECF participant:

                                    Ian Rosario-Montanez
                                     Reg. No. 12303-069
                                        FCI Greenville
                                        P.O. Box 5000
                                     Greenville, IL 62246

                                                   /s/ B. Kathryn Debrason
                                                   Assistant United States Attorney
